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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
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11    BLANCA ARGELIA ARIAS, individually Case No. 2:18-cv-08818-RGK-JPR
      and on behalf of herself and others similarly
12    situated,                                     Assigned to the Hon. Judge R. Gary
                                                    Klausner, Courtroom 850
13                               Plaintiff,
                                                     [PROPOSED] ORDER GRANTING
14           v.                                      JOINT STIPULATION OF
                                                     DISMISSAL PURSUANT TO FED. R.
15    RESIDENCE INN BY MARRIOTT, LLC., CIV. P. RULE 41(A)(1)(A)(II)
      a Delaware limited liability company;
16    MARRIOTT INTERNATIONAL, INC., a
      Delaware corporation; and DOES 1 through
17    20, inclusive,
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                     Defendants.
19                                              Complaint Filed: August 23, 2018
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        [PROPOSED] ORDER GRANTING JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
     Case 2:18-cv-08818-RGK-JPR Document 24 Filed 01/14/20 Page 2 of 3 Page ID #:212



1                                      [PROPOSED] ORDER
2           In consideration of the Parties’ Joint Stipulation of Dismissal pursuant to Federal
3     Rule of Civil Procedure 41(a)(1)(A)(ii), and for good cause shown, it is hereby ordered that
4     Plaintiff’s individual claims in the above captioned lawsuit are DISMISSED IN THEIR
5     ENTIRETY WITH PREJUDICE. The class allegations are dismissed without prejudice.
6     The PAGA allegations are dismissed without prejudice. Each party will bear its/her/their
7     own fees and costs.
8           IT IS SO ORDERED:
9
10    Date: January 14, 2020                              _________________________
11                                                        Hon. Judge R. Gary Klausner
                                                          United States District Judge
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                 [PROPOSED] ORDER GRANTING JOINT STIPULATION OF DISMISSAL
     Case 2:18-cv-08818-RGK-JPR Document 24 Filed 01/14/20 Page 3 of 3 Page ID #:213



1                                CERTIFICATE OF SERVICE
2           I hereby certify that a true and correct copy described as [PROPOSED] ORDER
      GRANTING JOINT STIPULATION OF DISMISSAL WITH PREJUDICE was on
3     January 9, 2020, served upon all counsel of record electronically by the Court’s Case
      Management System:
4
            William J Dritsas, Esq.                      Attorneys for Defendants
5           Seyfarth Shaw LLP                            RESIDENCE INN BY
            560 Mission Street 31st Floor                MARRIOTT, LLC, and
6           San Francisco, CA 94105                      MARRIOTT
            415-397-2823                                 INTERNATIONAL, INC.
7           Fax: 415-397-8549
            Email: wdritsas@seyfarth.com
8
            Brian P Long, Esq.                           Attorneys for Defendants
9           Seyfarth Shaw LLP                            RESIDENCE INN BY
            601 South Figueroa Street Suite 3300         MARRIOTT, LLC, and
10          Los Angeles, CA 90017-5793                   MARRIOTT
            213-270-9600                                 INTERNATIONAL, INC.
11          Fax: 213-270-9601
            Email: bplong@seyfarth.com
12
13           BY NOTICE OF ELECTRONIC FILING: The above-listed counsel have
      consented to electronic service and have been automatically served by the Notice of
14    Electronic Filing automatically generated by CM/ECF at the time said document was
      filed and which constitutes service pursuant to FRCP 5(b)(2)(D).
15
16          Executed on January 9, 2020, at Los Angeles, California.
17                                                                      By: /s/ Tony Noda__
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                [PROPOSED] ORDER GRANTING JOINT STIPULATION OF DISMISSAL
